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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 JANE DOE,                                  )
                                            )
                            Plaintiff,      )
                                            )                   Civil Action No. 1:17 cv 01034
           v.                               )
                                            )
 MICHIGAN STATE UNIVERSITY;                 )
 MICHIGAN STATE UNIVERSITY BOARD OF         )
 TRUSTEES; LOU ANNA SIMON in her individual )
 and official capacities;                   )

                                        Defendants.

STIPULATION AND ORDER EXTENDING TIME FOR PLAINTIFF TO RESPOND TO
              DEFENDANTS’ RULE 12 MOTION TO DISMISS


               IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for

Plaintiff, and Defendants Michigan State University, et al, that the deadline for the Plaintiff to

file a response to Defendants’ Rule 12 Motion to Dismiss is extended from Tuesday, August 7,

2018 to Tuesday, August 21, 2018. Defendants’ Response brief is due on September 4, 2018.



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              IT IS SO STIPULATED this 7th day of August, 2018.



/s/ Karen Truszkowski                           /s/ Michael E. Baughman
____________________________________            ____________________________________
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                                                Attorneys for Defendants
                                                Michigan State University
                                                and Unidentified Roe


              IT IS SO ORDERED.



                                        _______________________________________
                                        Hon. Janet Neff
                                        U.S. District Court Judge

Dated: __________________




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                                  CERTIFICATE OF SERVICE

                I hereby certify that on August 7, 2018, I electronically filed the foregoing

Stipulation and Order Extending the Plaintiff’s Time to Respond to the Defendants’ Rule 12

Motion to Dismiss, with the Clerk of the Court using the CM/ECF system, which sent

notification of the filing to all counsel of record.



                                                /s/ Julie A. Jacot______________________
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